                                Case 3:24-bk-00496-BAJ                         Doc 61-1      Filed 04/12/24           Page 1 of 14

 Fill in this information to identify the case:

 Debtor name                            Genie Investments NV, Inc.

 United States Bankruptcy Court for the:
                                   Middle District of Florida

 Case number (if known):             3:24-bk-00496-BAJ                                                                          ✔ Check if this is an
                                                                                                                                ❑
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                          ✔ Operating a business
                                                                                          ❑                                                         $5,000.00
                                          From 01/01/2024         to    Filing date
       fiscal year to filing date:
                                                  MM/ DD/ YYYY                            ❑ Other

       For prior year:                    From 01/01/2023         to    12/31/2023        ✔ Operating a business
                                                                                          ❑                                                  $2,213,147.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                          ❑ Other

       For the year before that:          From 01/01/2022         to    12/31/2022        ✔ Operating a business
                                                                                          ❑                                                    $399,195.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                          ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ❑ None
                                                                                          Description of sources of revenue   Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:        From 01/01/2024         to    Filing date       Dividends                                              $14,704.95
                                                  MM/ DD/ YYYY
                                                                                         ICA Interest                                           $11,926.66

                                                                                                                              Total Gross Revenue:
                                                                                                                                               $26,631.61


      For prior year:                    From 01/01/2023         to    12/31/2023
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY




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                  Name



      For the year before that:         From 01/01/2022       to    12/31/2022
                                               MM/ DD/ YYYY          MM/ DD/ YYYY




 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
         List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
         this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
         years after that with respect to cases filed on or after the date of adjustment.)

         ❑ None
          Creditor’s name and address                       Dates                Total amount or value        Reasons for payment or transfer
                                                                                                              Check all that apply

 3.1.    Morgan Stanley                                     1/2024                    $10,002,780.00          ✔ Secured debt
                                                                                                              ❑
         Creditor's name                                                                                      ❑ Unsecured loan repayments
         1585 Broadway                                                                                        ❑ Suppliers or vendors
         Street
                                                                                                              ❑ Services
                                                                                                              ❑ Other
         New York, NY 10036
         City                         State    ZIP Code

 3.2.    See Attached List                                                                                    ❑ Secured debt
         Creditor's name                                                                                      ❑ Unsecured loan repayments
                                                                                                              ❑ Suppliers or vendors
         Street
                                                                                                              ❑ Services
                                                                                                              ✔ Other
                                                                                                              ❑

         City                         State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
         List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
         co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
         adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
         Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
         relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
         ❑ None
          Insider’s name and address                        Dates                Total amount or value        Reasons for payment or transfer


 4.1.    CALD Holdings LLC (648)                            2023                         $516,358.87          Loan to insider corporation controlled by Former
         Creditor's name                                                                                      Director


         Street




         City                         State    ZIP Code

          Relationship to debtor




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 4.2.   CAPITULUM LLC (271):                              2023                       $517,409.70          Loan to insider corporation
        Creditor's name


        Street




        City                         State    ZIP Code

         Relationship to debtor

        insider corporation

 4.3.   ZOOMERAL Inc. (429):                              2023                     $1,380,590.24          Loan to insider corporation
        Creditor's name


        Street




        City                         State    ZIP Code

         Relationship to debtor

        insider corporation

 4.4.   Genie’s Angels LLC (2990)                         2023                        $25,000.00          loan to insider corporation
        Creditor's name


        Street




        City                         State    ZIP Code

         Relationship to debtor

        insider corporation

 4.5.   Genie Investments II LLC (3281):                  2023                     $1,085,073.37          loan to insider corporation
        Creditor's name


        Street




        City                         State    ZIP Code

         Relationship to debtor

        insider corporation

 4.6.   Better Methods LLC (3278):                        7/2023                      $81,250.00          insider corporation loan
        Creditor's name


        Street




        City                         State    ZIP Code

         Relationship to debtor

        insider corporation

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 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                                Date                    Value of property


 5.1.
        Creditor's name


        Street




        City                         State    ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ❑ None
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.   JP Morgan Chase Bank                                Refund of Fees to Customer Linger Chu of ICA               7/2023                     $1,100,000.00
        Creditor's name                                     payments
        270 Park Avenue
        Street
                                                             XXXX–


        New York, NY 10017
        City                         State    ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None
 7.1.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        NORTH HAVEN LODGING                     breach of contract                      United States District Court Norther District of      ✔ Pending
                                                                                                                                              ❑
        PARTNERS LLC, AND
        WALLINGFORD LODGING
                                                                                        Illinois
                                                                                        Name                                                  ❑ On appeal
        PARTNERS LLC, v. Debtor, et                                                                                                           ❑ Concluded
        al.
                                                                                        Street


         Case number

        Case No. 1:23-cv-16264                                                          City                         State      ZIP Code




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                 Name
 7.2.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

        Genie Investments NV, Inc. v.          breach of contract                     United States District Court, Middle District of    ✔ Pending
                                                                                                                                          ❑
        TRUST ALLIANCE KB, LLC et
        al
                                                                                      Florida
                                                                                      Name                                                ❑ On appeal
                                                                                      300 N. Hogan St.                                    ❑ Concluded
                                                                                      Street
         Case number
                                                                                      c/o Clerk of the Court
        6:24-cv-00271                                                                 Jacksonville, FL 32202
                                                                                      City                            State   ZIP Code

 7.3.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

        Arbitration actions pending for        v. Kim Nash; Blake Stringer;           Arbitration                                         ✔ Pending
                                                                                                                                          ❑
        defamation                             Kristen Stegnet and
                                               Christopher Lovett
                                                                                      Name
                                                                                                                                          ❑ On appeal
                                                                                      Street
                                                                                                                                          ❑ Concluded
         Case number



                                                                                      City                            State   ZIP Code

 7.4.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

        Genie Investments NV, Inc. v.          collection/fraud                       Arbitration                                         ✔ Pending
                                                                                                                                          ❑
        Velanos, et al.                                                               Name
                                                                                                                                          ❑ On appeal
                                                                                      Street
                                                                                                                                          ❑ Concluded
         Case number



                                                                                      City                            State   ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑
 8.1.    Custodian’s name and address                     Description of the property                           Value


        Custodian’s name
                                                          Case title                                            Court name and address
        Street
                                                                                                               Name

                                                          Case number
                                                                                                               Street
        City                         State    ZIP Code



                                                          Date of order or assignment                          City                      State    ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.     List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
        to that recipient is less than $1,000
        ✔ None
        ❑




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                  Name
 9.1.     Recipient’s name and address                      Description of the gifts or contributions                 Dates given           Value


         Recipient’s name


         Street




         City                         State    ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ❑ None
           Description of the property lost and how the         Amount of payments received for the loss                     Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                           lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.    Sophisticated financial fraud perpetrated by         $0                                                           7/2023               $9,000,000.00
          Velanos and others based on purported
          Standby Letters of Credit. Debtor transferred
          $9M to Velanos.



 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None
 11.1.    Who was paid or who received the transfer?             If not money, describe any property transferred           Dates               Total amount or
                                                                                                                                               value

         Law Offices of Mickler & Mickler, LLP                  Attorney’s Fee                                            02/26/2024                   $25,000.00


          Address

         5452 Arlington Expy.
         Street



         Jacksonville, FL 32211
         City                         State    ZIP Code


          Email or website address



          Who made the payment, if not debtor?

         Better Methods




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                                                                                                         Case number (if known)               3:24-bk-00496-BAJ
                Name



 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑
 13.1.    Who received the transfer?                         Description of property transferred or payments            Date transfer       Total amount or
                                                             received or debts paid in exchange                         was made            value




          Address


         Street




         City                        State    ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                           Dates of occupancy

 14.1.
                                                                                                           From                       To
         Street




         City                        State    ZIP Code




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 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                      Nature of the business operation, including type of services the          If debtor provides meals
                                                         debtor provides                                                           and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street                                          Location where patient records are maintained(if different from           How are records kept?
                                                         facility address). If electronic, identify any service provider.
         City                    State    ZIP Code                                                                                Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ❑ No.
         ✔ Yes.
         ❑                                                                    Nature: Driver’s License, Social Security Number, Passport and
                  State the nature of the information collected and retained. Address for background checks
                  Does the debtor have a privacy policy about that information?
                  ❑ No
                  ✔ Yes
                  ❑
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Does the debtor serve as plan administrator?
                ❑ No. Go to Part 10.
                ❑ Yes. Fill in below:
                         Name of plan                                                                 Employer identification number of the plan

                                                                                                     EIN:        –

                         Has the plan been terminated?
                         ❑ No
                         ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
         or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
         cooperatives, associations, and other financial institutions.
         ❑ None



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                 Name

         Financial institution name and address            Last 4 digits of account      Type of account            Date account was            Last balance
                                                           number                                                   closed, sold, moved,        before closing
                                                                                                                    or transferred              or transfer

 18.1 Morgan Stanley                                       XXXX– x 2 9 0                ❑ Checking                   2/2024                    $2,516.80
      Name
                                                                                        ❑ Savings
                                                                                        ❑ Money market
        1585 Broadway
        Street
                                                                                        ✔ Brokerage
                                                                                        ❑
        New York, NY 10036
                                                                                        ❑ Other
        City                       State      ZIP Code

 18.2 JP Morgan Chase Bank
                                                           XXXX–                        ✔ Checking
                                                                                        ❑                            7/2023                    $0.00
      Name
                                                                                        ❑ Savings
                                                                                        ❑ Money market
        270 Park Avenue
        Street
                                                                                        ❑ Brokerage
        New York, NY 10017
                                                                                        ❑ Other
        City                       State      ZIP Code

 18.3 Wells Fargo Bank
                                                           XXXX–                        ✔ Checking
                                                                                        ❑                            10/2022                   $0.00
      Name
                                                                                        ❑ Savings
                                                                                        ❑ Money market
        420 Montgomery St.
        Street
                                                                                        ❑ Brokerage
        San Francisco, CA 94104
                                                                                        ❑ Other
        City                       State      ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑
 19.1    Depository institution name and address           Names of anyone with access to it           Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑ No
                                                                                                                                                 ❑ Yes
        Name


        Street

                                                           Address

        City                       State      ZIP Code


 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
        debtor does business.
        ✔ None
        ❑
 20.1    Facility name and address                         Names of anyone with access to it           Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑ No
                                                                                                                                                 ❑ Yes
        Name


        Street

                                                           Address

        City                       State      ZIP Code




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               Name
 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
      List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
      leased or rented property.
      ✔ None
      ❑
         Owner’s name and address                                Location of the property                  Description of the property                  Value



      Name


      Street




      City                           State   ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.
     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
     harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Case title                                     Court or agency name and address                  Nature of the case                          Status of case

                                                                                                                                                     ❑ Pending
         Case number
                                                    Name
                                                                                                                                                     ❑ On appeal
                                                                                                                                                     ❑ Concluded
                                                    Street




                                                    City                       State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                          Governmental unit name and address                Environmental law, if known                 Date of notice



      Name                                          Name


      Street                                        Street




      City                   State    ZIP Code      City                       State   ZIP Code



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 24. Has the debtor notified any governmental unit of any release of hazardous material?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                         Governmental unit name and address                 Environmental law, if known               Date of notice



         Name                                          Name


         Street                                        Street




         City                   State    ZIP Code      City                       State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
         information even if already listed in the Schedules.
         ✔ None
         ❑
          Business name and address                     Describe the nature of the business                       Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.1.
                                                                                                                 EIN:          –
         Name
                                                                                                                  Dates business existed

         Street
                                                                                                                 From                 To



         City                    State   ZIP Code


 26. Books, records, and financial statements
 26a.     List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          ❑None
           Name and address                                                                                        Dates of service

 26a.1. David Hughes
                                                                                                                  From 2022            To
          Name
          P.O. Box 60443
          Street



          Jacksonville, FL 32256
          City                                                State                ZIP Code

           Name and address                                                                                        Dates of service

 26a.2. John Cohan
                                                                                                                  From 2022            To
          Name
          103 Century 21 Drive Suite 100 #4
          Street



          Jacksonville, FL 32216
          City                                                State                ZIP Code




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                 Name

           Name and address                                                                                  Dates of service

 26a.3. Jimmy D. Chambers, CPA
                                                                                                            From 2022           To
          Name
          7200 Hwy 87 N.
          Street



          Orange, TX 77632
          City                                        State                  ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ❑None
           Name and address                                                                                  Dates of service

 26b.1. Jimmy D. Chambers, CPA
                                                                                                            From 2022           To
          Name
          7200 Hwy 87 N.
          Street



          Orange, TX 77632
          City                                        State                  ZIP Code


 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ❑None
           Name and address                                                                                  If any books of account and records are
                                                                                                             unavailable, explain why
 26c.1.
          John Cohan
          Name
          103 Century 21 Drive Suite 100 #4
          Street



          Jacksonville, FL 32216
          City                                        State                  ZIP Code

           Name and address                                                                                  If any books of account and records are
                                                                                                             unavailable, explain why
 26c.2.
          Jimmy D. Chambers, CPA
          Name
          7200 Hwy 87 N.
          Street



          Orange, TX 77632
          City                                        State                  ZIP Code

 26d.   List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
        statement within 2 years before filing this case.
        ✔None
        ❑




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Debtor
                                Case 3:24-bk-00496-BAJ
                 Genie Investments NV, Inc.
                                                                          Doc 61-1            Filed 04/12/24    Page 13 of 14
                                                                                                           Case number (if known)             3:24-bk-00496-BAJ
                 Name

           Name and address

 26d.1.

          Name


          Street




          City                                                  State              ZIP Code


 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ✔ No
         ❑
         ❑ Yes. Give the details about the two most recent inventories.
          Name of the person who supervised the taking of the inventory                           Date of             The dollar amount and basis (cost, market, or
                                                                                                  inventory           other basis) of each inventory




          Name and address of the person who has possession of inventory records

 27.1.

         Name


         Street




         City                                           State           ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
          Name                                Address                                                   Position and nature of any             % of interest, if any
                                                                                                        interest

         David Hughes                     P.O. Box 60443 Jacksonville, FL 32256                        Director, owner                                      50.00%

         John Cohan                       103 Century 21 Drive Suite 100 #4, Jacksonville, FL 32216 Director, owner                                         50.00%

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ❑ No
         ✔ Yes. Identify below.
         ❑
          Name                                Address                                                Position and nature of any          Period during which
                                                                                                     interest                            position or interest was
                                                                                                                                         held

         Caleb Davis                      401 RYLAND ST. Suite #200A Reno, NV 89502                 Director, owner                       From 2021
                                                                                                                                          To   12/2023

 30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
         credits on loans, stock redemptions, and options exercised?
         ✔ No
         ❑
         ❑ Yes. Identify below.




Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 13
Debtor
                                   Case 3:24-bk-00496-BAJ
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                                                                                                            Case number (if known)           3:24-bk-00496-BAJ
                Name

          Name and address of recipient                                             Amount of money or description          Dates             Reason for providing
                                                                                    and value of property                                     the value


 30.1.
         Name


         Street




         City                                          State         ZIP Code


          Relationship to debtor




 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         ✔ No
         ❑
         ❑ Yes. Identify below.
                Name of the parent corporation                                                         Employer Identification number of the parent corporation

                                                                                                      EIN:        –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         ✔ No
         ❑
         ❑ Yes. Identify below.
                Name of the pension fund                                                               Employer Identification number of the pension fund

                                                                                                      EIN:        –



 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on           04/12/2024
                        MM/ DD/ YYYY




    ✘                                                                       Printed name                   John Michael Cohan
           Signature of individual signing on behalf of the debtor



         Position or relationship to debtor               Director




    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes



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